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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

JOHN J. TREGONING and
KATHLEEN WELDON TREGONING

Plaintiffs / Counter-Claim Defendants
Case No.:1:14-ev-01560-CMH-JFA

Vv.

ROWAN’S LANDSCAPE COMPANY, INC.

Defendant/Counter-Claim Plaintiff

 

JOINT STIPULATION OF DISMISSAL
It is hereby stipulated and agreed, by and between the parties in the above-captioned
matter, through their respective attorneys, as evidenced by the signatures below, that this action
shall be dismissed pursuant Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, each
party to bear its own costs and fees, as all matters in controversy for which this action was

brought have been settled, compromised, and adjourned.

Dated: February q , 2014 Respectfully submitted,

WE ASK FOR THIS:
JOHN J. TREGONING and
KATHLEEN WELDON TREGONING
By Counsel

/s/Leonard P. Buscemi

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WE ASK FOR THIS:
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Counsel for Defendant/Counter-Claim Plaintiff
CERTIFICATE OF SERVICE

 

I hereby certify that a copy of the foregoing The Parties Joint Stipulation of Dismissal
was electronically filed with the Cler the Court of the United States District Court for the
Eastern District of Virginia on this Gian of February, 2015, and served on Defendant’s
counsel mentioned below through the Court’s CM/ECF system.

/s/Leonard P. Buscemi
